I'§‘~§ §I`HE UNI'I` 1313 S'I"ATES I)I,STR`ICT C{)`UR'!`
FOR TI~IE EASTERN DISTRICT OF "I`ENNESSEE
AT KNOXVILLE

BRACKFIELD & ASSOCIATES
PARTNERSHIP, a/k!a BRACKFIELI) &
ASSOCIA“I`ES, G.P., and EUGENE
'BRACKFIELD, JR. N<). 3214~0V»PLR»HBG
JURY DEMANDED
Plaiutiff$, 'Reeves/Guyton
v.

BRANCH BANK`ING AND TRUST C()MPANY

\v/\/WW\/\_¢/W\~/\~_¢W"-/\_»/

Defendant.
JOINT MOTION FOR ENTRY OF AGREEI) PROTECTIVE ()RDER
The parties, Brackfl€ld & Associates Partnership, a/k/a Brackfleld & ASSociateS, G.P.,
and Eug€:ne 1131“::1<:1~:£`1€:1£13 Jr. and Brahch Banking and Trust Company, by and through their
undersigned counsel cf record, jointly move the Court for entry of the [proposed] Agreed
Protective Order attached heretc).

Respectfully Submitted this 18th day Of`June, 2015.
FRANTZ, McCONNELL & SEYMOUR, LLP

By: S/Matthew A. Grossman
Matthew A. Grossman (BPR # 0221()7)
Taylc)r D. Forrester (BPR #027228)
P.O. Box 39

Knoxville, TN 37901

(865) 546-9321
mgrossman@hnsllp.com
tforrester@fmsllp.com

Atzorneysfor Plczintiffs

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BAKER, D()NELSON, 'BEARMAN
CALDWELL & BERKOWITZ, P.C.

By: S/Sutnnier H. l\/chillan
Richard B. Gossett (BPR ii 00l686)
Snminer H. Mel\/Iillan (BPR # 02()296)
265 Brookview Centre Way

Su'ite 600

Knoxville, TN 37919

(865) 549-7000
dgossett@bakerdonelson.corn
Sniicmillan@bakerdonelson.coin

 

Aztomeysfbr Defendant

CERTIFICATE OF SERVICE
l hereby certify that on this 18th day of June, 2015 l electronically filed the foregoing
with the Clerl<: of the Coui't by using the CM/ECF Systern Which Will Send a notice of electronic
filing to all Cl\/UECF participants in this matter.

/S/ Sunimer H. l\/lcl\/lillan
Sumrner H. l\/lcl\/lillan

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